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         Exhibit JJ
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     AN UPDATED ANALYSIS OF THE NFL
             CONCUSSION SETTLEMENT




                          Prepared by:
                      Thomas Vasquez Ph.D.
                    Ankura Consulting Group
                          April 10, 2017




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I was originally asked by Co-Lead Class Counsel in In re National Football Lea�e Players'
Concussion Injury Litigation, MDL No. 2323 (E.D. Pa.) to undertake an analysis to assist in
settlement negotiations in mid-2013. My conclusions from that work are reflected in the NFL
Concussion Liability Forecast, dated February 10, 2014, which is attached hereto as Exhibit 1.

Thereafter, Co-Lead Class Counsel asked me to prepare a Declaration and to elaborate on certain
elements of the work I had conducted for my initial report. A discussion of those analyses is
contained in my Declaration, dated November 12, 2014, which is attached hereto as Exhibit 2.1

Now, I have been asked by Co-Lead Class Counsel to value the Settlement, as implemented, i.e.,
to update my prior analyses to take into consideration subsequent changes to the initial
settlement agreement and additional data now known concerning Class Member participation
rates.

Specifically, with regard to my current analysis, I understand that the original settlement that I
analyzed was revised such that the $675 million cap on the Monetary Award Fund (MAF) was
removed in the revised settlement, dated June 25, 2014, with the NFL Parties agreeing to pay all
                                             2
valid claims for the 65-year life of the MAF. I further understand that on February 2, 2015, the
Court issued an Order suggesting five changes to the revised settlement, which changes were
endorsed by the parties and reflected in the Class Action Settlement Agreement (As Amended),
filed on February 13, 2015, which received final approval by the Court on April 22, 2015 (the
Settlement).

                                                                                                     3
The potential impact of three of the five changes to the Settlement are capable of being valued:

     1.   Providing Eligible Season credit for play in World League of American Football, the
          NFL Europe League and the NFL Europa League (NFL Europe);

     2.   Assuring that all living Retired NFL Football Players who timely register for the
          Settlement, who are eligible to participate in the Baseline Assessment Program (BAP),
          and who timely seek a BAP Examination, will receive a BAP Examination, despite the
          $75 million funding cap on the BAP; and


1   Exhibit B to my November 12, 2014 Declaration is my NFL Concussion Liability Forecast,
dated February 10, 2014, which is Exhibit 1 hereto. It is not reproduced a second time.

2   I was aware of the uncapping of the MAF as of the date of my November 12, 2014
Declaration, but that fact did not affect my conclusions.

3   I am not able to value the last two changes to the Settlement, because attempting to value those
changes, namely, providing a waiver of the $1,000 appeal fee for Class Members demonstrating
financial hardship and allowing a reasonable accommodation for Class Members who do not
possess medical records in support of a Qualifying Diagnosis due to force majeure type events,
would be speculative.




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    3.     fncluding the Qualifying Diagnosis of"Death with CTE" for those Retired NFL Football
           Players who died between the dates of preliminary approval (July 7, 2014) and final
           approval (April 22, 2015).

This report addresses the value of the Settlement in its entirety based upon the above three
changes and the actual registration data that the Claims Administrator now possesses, which data
have been provided to me through April 3, 2017.

Table I provides a summary of the value of the settlement as originally estimated and as
modified to reflect: (1) additional information on the participation rate of former players and (2)
the three changes to the settlement.


                                                                  Table 1


 Current Estimated Value of the NFL Settlement: After Inclusion of Updated Information
                                       and Changes in the Settlement Agreement
                                                                                              ($ Millions)

                                                        Monetary Award Fund              Baseline Assessment
Estimate                                                         (MAF)                      Program (BAP)                       Tot.al


Original Estimates (2014)
  Nominal Awards                                                           $933.4                          $75.0                         $1,008.4
  Nominal Funding                                                          $675.0                          $75.0                          $750.0

Effect orincreased Participation Rates
  Change
       Nominal Awards                                                       $56.9                             $0.0                         $56.9
       Nominal Funding                                                      $41.1                             $0.0                         $41.l
  Updated Estimates
       Nominal Awards                                                      $990.3                          $75.0                         $1,065.3

       Nominal funding                                                     $716.1                          $75.0                          $791.1

Effect of Changes to the Settlement
  Change
       Nominal Awards                                                       $45.8                             $0.0                         $45.8
       Nominal Funding                                                      $33.2                             $0.0                         $33.2
   Current Estimate
       Nominal Awards                                                    $1,036.1                          $75.0                         $1,111.l
       Nominal Funding                                                     $749.3                            $75.0                        $824.3


Note: Unlike MAf awards that continue for 60+ years, payments under the BAP are mostly limited to I 0 years ( 15 years for Supplemental Awdrds)
      1bus for this purpose, Nominal Awards under the BAP are set equal to Nominal Funding.



The current estimate of the value of the settlement is approximately $103 million or 10% higher
than the Nominal Award amounts I estimated in 2014 (approximately $74 million or 10% higher
Nominal Funding). Approximately 55% of the increase is due to slightly higher participation rates
                                                                                             3rd
now anticipated vs. originally projected (63% vs. 59%). The participation rate through April
is 51.5%, which projects to an anticipated participation rate as of the close of registrations of
approximately 63o/o--four percent greater than originally projected. The remaining 45% of the

                                                                                                                                             3
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increase in Nominal Award amounts is due to the changes to the settlement.

The remainder of my report includes a brief overview of the me thodolog y used to estimate the
value of the settlement and provides detail on the impact of each change since my 2014 report.



Methodology

The methodology used in this analysis (and used in my original analysis in 2014) is based on a
life cycle forecasting model. The life cycle model looks at each individual in the population of
former NFL players and "ages" them year-by-year into the future.

During the aging process, the life cycle model takes each ofthe former NFL players individually
and first applies the epidemiological risk equations to compute the probability of contracting
each one of the compensable injuries. The model then applies overall mortality rates to compute
the likelihood of death due to other natural causes4.           The mortality rates used to compute the
likelihood ofdeath due to natural causes are those for all causes for males in the same age group.

Thus, for each player and for each year, computations are made based on the probabilities of
each of the following: (1) the player will die of natural causes, (2) he will be diagnosed with one
of the compensable terminal diseases (Alzheimer's, ALS, Parkinson's), (3) he will be diagnosed
with one ofthe non-terminal neurocognitive disorders (Level l .5 or 2), and (4) he will not
experience any ofthese adverse conditions during that year.

These steps are repeated year-by-year, changi ng the mortality rates and disease incidence rates
accordingly for age until the individual player reaches a final resolution - either he dies of
natural causes or he is diagnosed with one oftbe terminal diseases and receives full final
compensation. The model then repeats this entire process for the next player until all players in
the population have reached the final resolution stage, and the last member of the population of
former NFL players is no longer ali ve.

A diagram of the life cycle modeling methodology is shown in F igure I.




4 The term "natural causes" refers to any cause of death that is not identified as a compensable disease in the
Settlement Agreement.


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                                  Figure 1: Life Cycle Methodology Overview




                                     �
                                              Fonner )>"FL Player "X''          j
                                     ,                                          '
                                                       Year "Y"




                                                          ''
                                                                                              Repeat \Vith
                                            Select an outcome based on
                                                                                              same player
                                                       incidence
                                                                                              for Year Y-1




                         --                                            l                      l
                                                                                      I                  �
             Death by              Con tract Tem1inal          Contract Lesser            :-Jo adverse
          Nanrral Causes                 Disease                     Disease                 event




                                     Compute Final
                                                                       l
                                       S enl e m enr                Compute

                Xo                       A.mount                   Intermediate

           Com p en sation         (Adjusted for Any               Settlement
                                                                                    Repeat \vith same player
                                     Intennediate                   Amount
                                                                                    for Year Y-1
                                         Payment)



                 'II                        'II


     I         Final Resolution for Player X


    Get Next Player
                              I

Updated Information

The only additional information available since my 2014 analysis relates to the participation rate
of fonner players.      The 2014 report assumed that 59.3% of the eligible former players would
participate in the settlement.       Current information on player registrations indicates that the
participation rate may be close to 63%.            Generally, the registration of potential class members
starts at a high level and very quickly declines. As seen on Table 2, this holds for the registration
pattern in the NFL settlement.




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                                                            Table2

                Player Registrations by Week: First Eight Weeks of Registration

                                                    Registrations
                                   Retired                                                      Percent of Eligible Players

Week of Registration                Player         Representative            Total          Within Week            Cumulative


lst Week                                4,321                    126             4,447                20.5%              20.5%


2nd Week                                2,185                     56             2,241                10.3%              30.9%


3rd Week                                1,074                     59             1, 133                 5.2%             36.1%


4th Week                                   459                    26                 485                2.2%             38.4%


5th Week                                     809                  52                 861                4.0%             42.3%


6th Week                                     749                  35                 784                3.6%             46.0%


7th Week                                     608                  42                 650                3.0%             49.0%


8th Week                                     513                  42                 555                2.6%             51.5%


 Total Registrations                   10,718                    438            11,156                 51.5%                    na


Note: Approximately 21,700 eligible players (20,200 former US players plus 1,500 former European League players)



After the first two weeks, registrations fell dramatically to 5.2% of eligible players in the third
week and continued to fall to a low in the eighth week of 2.6% of eligible p layers. I believe that
if the registration pattern follows the first eight week trend that the final participation rate will be
approximately 63%.

This increase in participation rate above the 59% estimated in 2014 increases the
Nominal Awards by approximately $56.9 million or approximately 5.5% (increased
Nominal Funding of $41.1 million).

Providing Eligible Season credit for play in World League of American Football, the NFL
Europe League and the NFL Europa League (NFL Europe)

There are two distinct groups of players that may be affected by the inclusion of seasons played
in one of the European leagues - those individuals that played in both the U.S. and European
leagues and those that played solely in European leagues. The first group may have an increase
in their eligible seasons and a resulting increase in compensation from the Monetary Award Fund
(MAF). The second group includes newly eligible players who may benefit from compensation
from the MAF as well as the Baseline A sse ssm ent Program (BAP).



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Table 3 shows the number of former NFL Europe players by whether they also played in the
NFL US. Throughout the 15 years of operation of the various European leagues, 3,613
                                5
individuals played in NFL Europe . Of these, 2,321 (64.2%) played in both Europe and the US.

The additional seasons are calculated as follows:

      •       Each NFL Europe season is equal to 0.5 NFL US seasons
       •      All duplicate years are eliminated for individuals that recorded the same years of play in
              NFL Europe (some players played for different teams in the same year and thus the
              season was recorded twice)
       •      All duplicate years are eliminated for individuals that played in both NFL Europe and
              NFL US (some individuals played in both leagues in the same year)
      •       Eligible Seasons are limited to five years for each player


                                                           Table 3


                           Fonner NFL Europe Players, By US Playing Status

                                                                     Players                        Additional
           NFL Europe Player Category                    Count                  Percent           Eligible Seasons



           Played Only in Europe                                1,261                 34.9%                 1,021
           Played in Europe and the U.S.                        2,321                 64.2%                  l ,1 52
           Unknown                                                  31                  0.C)O/o                  25
              Total                                             3,613                100.0%                 2,198

           Note: Additional Eligible Seasons computed at 0.5 US seasons per NFL Europe Seasons;

           and eligible seasons limited to five.


The calculation of additional MAF payments was made by adding the additional seasons to each
affected player and recalculating the MAF award. This was done for each affected player and
added to a total across all affected players. The increased nominal MAF awards for already
eligible players (players who also played in the US) is approximately $21 million ($15 million
increase in nominal funding). The increased nominal MAF awards for newly eligible players
(players who played solely in Europe) is estimated to be approximately $20 million ($15 milli on
increase in nominal funding).


5   Source:     www.footballdb.com/nfl-europe/nfleplayers




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 Assuring that al/ living Retired NFL Football Players who timely regist er for the Settlement,
 who are eligible to participate in the Baseline Assessment Program (BAP), and who timely seek
 a BAP Examination, will receive a BAP Examination, despite the $75 million funding cap on the
 BAP

 The BAP Administrator estimates that it will cost $7.5 million to administer the BAP program.
 My original analysis assumed that baseline exams would cost approximately $41.3 million
 (based on an estimate that approximately 60% of former players register for the program at a
 cost of $3 500 per exam). Under the $75 million cap, approximately $26.3 million remained
             ,
 available for Supplemental Benefits, as such are determined and set under the BAP Program.


 The increase in participation rates and the eligibility of European players is expected to increase
 the number of baseline exams, and their attendant costs. However, any such increased cost is
 still well-within the $75 million provisioned in the BAP Program for such exams. Thus, absent
 a circumstance where the combination of BAP exams and Supplemental Benefits exhausts the
 $75 million cap (and the NFL parties will be required to fund a BAP Examination beyond the
 cap), the total value of the settlement is unaffected. At present, and given the mechanism
 through which Supplemental Benefits are fixed under the Settlement, such an occurrence is
 speculative.


 Including the QualifYing Diagnosis of "Death with CTE" for those Retired NFL Football
 Players who died between the dates ofpreliminary approval (July 7, 2014) and final approval
 (April 22, 2015).

 It is difficult to precisely estimate the additional payments to players who died and were
 diagnosed post-mortem with CTE during this period of time. indeed, the authors of available
 studies of former players concerning CTE admit bias in the cases examined (only players with
 observed symptoms were studied). However, the reports of post-mortem pathological diagnoses
 of CTE in former players in recent years provide relevant data for the purpose of approximating
 potential additional claims.


 Among the 424 former players who died between 2010 and 2012, 32 or 7 .55% reportedly had
 post-mortem pathological diagnoses characteristic of CTE. I rely on these results to estimate the
 additional eligible Death with CTE claims for period from July 7, 2014 through April 22, 2015.
 During this period 11 l former players died. Using the 7.55% that held during the 2010 to 2012
 period, the representatives of approximately 8 additional former players would be eligible for the
                              6
 "Death with CTE" payment.




6 It is important to note that, as described in the relevant CTE literature, these 8 players are likely to have suffered

fro m one of the other Qualifying Diagnoses in the Settlement prior to death, and thus may have been eligible for
compensation for those earlier Qua lifying Diagnoses (a t younger ages, and thus at greater age-related award levels)
independent of the later diagnosis for CTE. My analysis does not account for any such earlier Qualifying Diagnoses;
rather, it treats each of the Ju ly 2014-April 2015 Death with CTE cases as "new" qualifying claims. In that regard, my
analysis overstates the financial impact of this change to the Settlement Agreement, and is thus conservative.


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On the basis of age, Eligible Seasons, and other offsets, using the life cycle model discussed
above, the value of the change of the date to April 22, 2015 is approxinrntely $5 million in the


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aggregate.


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                                 CV of Thomas Vasquez Ph.D.


Dr. Vasquez is a vice president at Analysis, Research & Planning Corporation (ARPC) in the
New York office. Dr. Vasquez has over 35 years of experience in management consulting for
private sector clients, the development of economic models for US and foreign governments to
analyze and develop tax, expenditure and regulatory policy and providing expert testimony over
a wide range of issues.

Dr. Vasquez has provided management consulting services for private sector companies in a
wide array of industry sectors. The services include identifying methods to: (1) increase the
stock price or value of the company; (2) leverage the firm’s brand asset; (3) assist
underperforming companies and (4) provide general valuation services.

Dr. Vasquez has assisted US and foreign governments in the development of tax, expenditure
and regulatory policy. The services include the development of large scale micro-economic
models to allow policymakers to determine individual and company behavioral reactions to tax
and regulatory policy.

Dr. Vasquez has provided expert testimony, depositions and analytical litigation support on a
broad spectrum of issues involving statistical techniques, computer simulation, economic
behavior and economic models, including, among others:
• Using statistical models to forecast a company's future liability from lawsuits related to its
    former production of asbestos including the following representative assignments – National
    Gypsum Corporation, the Fibreboard Corporation, Owens Corning, Congoleum, Western
    MacArthur, Burns and Roe, Inc. and Specialty Products Holding Corp.,
• Using statistical models to forecast a company's future liability from lawsuits related to its
    former sales of products.
• Using statistical models to determine the settlement value of bodily injury and financial loss
    claims resulting from exposure to a wide range of hazardous or defective materials or
    activities.
• The statistical analysis of the determinants of supply and demand in certain industry
    segments for use in business valuations before the Bankruptcy Court.
• The impact of regulation and tax policy on prices, sales and production.
• Analyzing the allocation of liability from a state’s superfund tax.
• The statistical analysis of reasonable officer compensation levels in closely held companies.
Prior to joining ARPC, Dr. Vasquez was president and CEO of Yankelovich Partners, Inc., a
leading market research firm. While at Yankelovich Partners, Dr. Vasquez had responsibility for
engagements designed to determine the best approach to maximize the value of the client’s firm.
These engagements involved understanding the source of the value components of the firm –
value of the firm’s brand, product/service lines responsible for increasing (decreasing) stock
price, the role of joint products and other key components of the firm’s value.

From 1993 to 1997, Dr. Vasquez was the National Partner in Charge of Corporate Transactions
Services for KPMG Peat Marwick. In this role he practiced in and led four of KPMG’s national

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practices. One practice area was in the area of litigation support. This area involved almost
exclusively the use of highly trained professionals in providing expert testimony in a wide range
of litigation issues. The second practice area involved providing consulting services in the
bankruptcy and troubled company area. This area involved analyzing the condition and
prospects of a company in financial distress, generally involving recommendations for expense
control, revenue growth, elimination/sale of product and distribution lines and the
elimination/selling of production sites. The third area is investment banking. This area focused
on three major components: (1) buying and/or selling of companies for middle market clients; (2)
advise to non-public clients preparing an Initial Public Offering, and (3) advise to clients on
methods to increase share price and/or cash flow in anticipation of sale. The fourth area was
business valuation. This area focused on the valuation of businesses in a wide range of settings
including bankruptcy, fairness opinions, mergers and acquisitions, estate planning and other
venues requiring valuation services.

Dr. Vasquez served on the Firm’s Board of Directors from 1993 to 1997 and served as the
Chairman of the Board’s Strategic Planning Committee.

Prior to selling his firm to KPMG, Dr. Vasquez was the founder and President of the Policy
Economics Group. Dr. Vasquez was responsible for all data base development and tax
simulation modeling for federal and state government clients in the United States as well as
foreign governments including among others Egypt, Pakistan, Hungary, the former Soviet
Union, Trinidad-Tobago, Virgin Islands, Guam, El Salvador and Guatemala. Dr. Vasquez also
developed similar models using specialized industry data bases to determine tax impacts and
behavioral responses for commercial firms, industry associations and law firms. These models
were also used to formulate the client’s strategic direction, market initiatives and value
maximization strategies.

Prior to establishing the Policy Economics Group, Dr. Vasquez was the Deputy Director for the
U.S. Department of the Treasury Office of Tax Analysis. While there, he guided U.S. tax policy
analysis and designed large micro-simulation models and data bases for the U.S. Treasury
Department and the Joint Tax Committee of the U.S. Congress. He appeared before Congress to
provide testimony on such issues as capital gains taxation. He also designed numerous
specialized models and data bases for analyzing policy issues at the company, industry, and
individual levels.

Professional Experience:

President and CEO, Yankelovich Partners Inc., 1997 to 1999
National Partner in Charge, Corporate Transactions Services, KPMG Peat Marwick, 1993 to
1997.
Managing Partner, Policy Economics Group, KPMG Peat Marwick, 1987 to 1993.
Founder and President, Policy Economics Group, 1983 to 1987.
Deputy Director, Office of Tax Analysis, U.S. Department of the Treasury, 1979 to 1983.
Assistant Director, 1978 to 1979; Fiscal Economist, 1972 to 1976.
Chief Economist, New York State Economic Development Board, 1977 to 1978.
Staff Economist, Congressional Joint Committee on Taxation, 1976.

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Staff Economist, American Enterprise Institute for Public Policy Research, 1972.

Education:
Ph.D., Economics, Clark University, 1973.
M.A., Economics, Clark University, 1972.
B.S., Mathematics, State University of New York - Potsdam, 1970.

Legal Experience and Testimony:

National Gypsum Company Bankruptcy Proceedings, 1991
       Deposition
       Testimony
Gerald Ahern, et. al. vs. Fiberboard Corporation, et. al., 1994
       Deposition
       Testimony
Ezell Thomas, et. al. vs. R.J. Reynolds Tobacco Company, et. al., 1999
       Deposition
Fiberboard Corporation and Owens Corning vs. R.J.Reynolds Tobacco Company, et. al., 1999
       Deposition
Western Mac Arthur Company and Mac Arthur Company vs. General Accident Insurance Co. of
America; United States Fidelity & Guaranty Co.; Argonaut Insurance Company, 1999
       Affidavit
CSX Transportation, Inc. and American Home Ins. Co., 2000
       Deposition
ADR Proceeding Celotex vs. Travelers Casualty and Surety Co. and London Market Insurers,
2000
       Deposition, 2004
       Testimony, 2004
Owens Corning Bankruptcy Proceedings, 2001
       Deposition, 2004
       Trial Testimony, 2005
Michael Albanese vs. Compaq Computer Corporation, 2002
       Affidavit
ADR Proceeding ACandS, Inc. vs. Travelers Casualty and Surety Co., 2003
ASARCO vs
       Deposition, 2003
Western Mac Arthur Company and Mac Arthur Company Bankruptcy Proceedings, 2003
Oglebay Norton Bankruptcy Proceedings, 2004
       Deposition, 2004
       Trial Testimony, 2004
Halliburton Bankruptcy Proceedings, 2004
Congoleum vs Ace Ins. Et al, 2005
       Deposition, 2005
       Trial Testimony, 2006
Gene B. Griego, et al., Plaintiffs, vs. Bechtel National, Inc. et al., Defendants
       Deposition, 2005

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corporation, et al., Defendants
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St. Paul Fire and Marine Insurance Company, Plaintiff, vs. A.P.I., Inc., Defendant and Counter-
Claimant
        Deposition, 2005
Dana Corporation Bankruptcy Proceedings, Case No. 06-10354(BLR), 2007
        Deposition, 2007
        Trial Testimony, 2007
API, INC. Asbestos Settlement Trust v. Atlantic Mutual Insurance Company; Civil No. 09-0665
(JRT/JJG); United States District Court, D. Minnesota; July 9, 2010.
        Deposition, 2010
Applebee’s International, Inc., DineEquity, Inc. and Weight Watchers International, Inc. Sheree
Shepard and Anthony Watts, On Behalf of Themselves and All Others Similarly Situated vs.
DineEquity, Inc. et al.; United States District Court; District of Kansas; No. 08-cv-2416.
        Deposition, 2010
API, Inc. Asbestos Settlement trust, et al. v. Zurich American Insurance Company, et al. Court
File No. 09-CV-975 (JRT/JJG)
        Deposition, March 29, 2011
Tronox Incorporated, Tronox Worldwide, LLC f/k/a; Kerr-McGee Chemical Worldwide LLC,
and Tronox, LLC, f/k/a Kerr-McGee Chemical LLC vs. Anadarko Petroleum Corporation and
Kerr-McGee Corporation
        Deposition 2012
Specialty Products Holding Corp., et al Bankruptcy proceedings, Case No. 10-11780(JFK), 2012
        Deposition, 2012
        Trial Testimony, 2013
Fundamental Long Term Care, Inc., Debtor; The Estate of Juanita Amelia Jackson, et al, v.
General Electric Capital Corporation, et al; Case No.: 8:11-bk-22258-MGW Chapter 7; United
States Bankruptcy Court, Middle District of Florida, Tampa Division.
        Deposition, 2014
        Trial Testimony, 2014




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           Exhibit B
   (For the NFL Concussion Liability Forecast, Dated February 10, 2014, See Exhibit 1)
